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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 U.S. BANK NATIONAL ASSOCIATION, Case No. 4:20-cv-01509
 AS TRUSTEE FOR STRUCTURE ASSET
 INVESTMENT       LOAN       TRUST, Judge Andrew S. Hanen
 MORTGAGE           PASS-THROUGH
 CERTIFICATES, SERIES 2005-4        Magistrate Judge Frances H. Stacy

 v.

 CALVIN ROACH et al.


                     DECLARATION OF ATTORNEY AD LITEM

      I, Matthew S. Parmet, am over 18 years of age, of sound mind, and fully competent to
make this declaration. I have personal knowledge of the facts herein. I declare as follows:

A.     APPOINTMENT

1.     I was appointed to serve as an Attorney ad Litem in this matter to represent the
       interests of George Roch, Nathan Roch, and the Unknown Heirs at Law of William
       W. Roch, Jr., Charles Roch, and Kenneth Roch. (ECF No. 58.)

B.     AAL’S BACKGROUND

2.     I have been licensed to practice law in Texas since 2009 (Bar No. 24069719), Louisiana
       since 2010 (Bar No. 32855), California since 2014 (Bar No. 296742), and Colorado
       since 2019 (Bar No. 53046). I have also been admitted to the United States Supreme
       Court; the United States Courts of Appeals for the Fifth, Ninth, and Tenth Circuits,
       and 19 United States District Courts. My license is currently active and in good
       standing within all of these jurisdictions.

3.     My current curriculum vitae is attached as Exhibit A.

4.     I have been certified by the State Bar of Texas to serve as an Attorney ad Litem. A
       copy of my certification is attached as Exhibit B.

5.     I have no conflict of interest with any party that would preclude me from accepting
       this appointment.

C.     WORK UNDERTAKEN

6.     William Roch passed away on or about October 3, 3017.
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7.    I have exercised reasonable diligence in attempting to locate George Roch, Nathan
      Roch, and the unknown heirs of William W. Roch, Jr., Charles Roch, and Kenneth
      Roch.

8.    My search efforts were undertaken to locate George Roch, Nathan Roch, and the
      lawful heirs and successors of William W. Roch, Jr., Charles Roch, and Kenneth Roch.
      These efforts included the following:

      a.    Review of Court file and Plaintiff ’s materials. I have reviewed the file of
            material compiled by US Bank’s attorneys. The information provided

      b.    Property ownership interest. The property made the basis of this suit is located
            at 16783 Springfield Dr., Conroe, TX 77302 (lots 168 and 169, block 16,
            Pioneer Trails, Section 4 in J.F. Springfield Survey A-749, Montgomery
            County). It is currently deeded to US Bank after being acquired from the
            original mortgagee, Capital One Mortgage Corporation. (ECF No. 1, at §§ II,
            IV, Ex. D.) The note was executed by William W. Roch, and a Deed of Trust
            was executed by William W. Roch and Ann Francis Roch. (ECF No. 1, at Exs.
            A, B.)

      c.    Montgomery County Appraisal District (MCAD”) Records. The MCAD
            records for 16783 Springfield Dr., Conroe, TX 77302 (Property No. R140690)
            show “Roch, William W, Est” as the “100%” owner. The mailing address listed
            is the same as the property address.

      d.    Tax office statements. The tax statement with the Montgomery County Tax
            Office (account No. 0080300400300) reflects the same information as that
            provided by MCAD.

      e.    Phone contact with heirs. On July 2, 2021, I contacted Ashley Moore, Audrey
            Roch, and C.W. Roch by phone. The information provided by each of them
            was consistent with the conclusions below. My office also attempted to contact:
            Jenny Bell, who refused to take our call; Jason Cooke, Kevin Cooke, Victoria
            Jones, Megan Roch, and Kenneth Roch, Jr., for each of whom we left
            voicemails requesting a return call; Julie Lollar, Anthony Roch, and William
            Roch, III, each of whom no longer had working phone numbers; and Calvin
            Roch, whose phone number is now used by a new person.

      f.    Mailings to heirs. On July 2, 2021, my office sent correspondence to Jenny
            Bell, Jason Cooke, Kevin Cooke, Victoria Jones, Julie Lollar, Anthony Roch,
            Calvin Roch, Dee Dee Roch, Megan Roch, Nathan Roch, William Roch, III,
            and Kenneth Roch, Jr., informing each of the lawsuit and requesting
            information on George Roch and the heirs of William W. Roch, Jr., Charles
            Roch, and Kenneth Roch. As of the date of this declaration, a response was
            received only from an individual identifying herself as Rebecca Guidry, the
            stepsister of Diane Roch. The information obtained from Ms. Guidry was also



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                    consistent with the conclusions below. As of the date of this report, the mailings
                    to Kenneth Roch, Jr., and Calvin Roch were returned to my office.

            g.      Visit to Property. I visited the Property on July 3, 2021. I spoke to an individual
                    who was present who identified himself as William W. Roch, Jr.’s son Frank
                    “Sam” Roch. Sam Roch informed me that he had recently been released from
                    prison and had received some correspondence regarding this matter. Sam Roch
                    did not have any information in addition to the summary listed in the
                    conclusions below. Mr. Roch provided me with his phone number and email
                    address. A follow-up email was sent to Mr. Roch containing information
                    consistent with the conclusions below and requesting further information
                    regarding the conclusions below. No response was received.

            h.      Probate records. After a diligent search, no related probate records were found
                    in Montgomery County or Harris County for George Roch, Nathan Roch,
                    William W. Roch, Jr., Charles Roch, or Kenneth Roch.

            i.      Death records. After a diligent search, no probate records were found in
                    Montgomery County or Harris County for George Roch, Nathan Roch,
                    William W. Roch, Jr., Charles Roch, or Kenneth Roch.

            j.      Obituary search. After a diligent search, no traditional obituary was located
                    for George Roch, Nathan Roch, William W. Roch, Jr., Charles Roch, or
                    Kenneth Roch. However, an obituary for William W. Roch, Jr., was available
                    on the website for Dignity Memorial. Messages listed on the website included
                    those from Megan Velasco (Roch) (identifying herself as a granddaughter) and
                    Jennifer Roch. Other messages and pictures specifically identifying family
                    included a photo of “Bubba and Megan grandchildren” and “Nathan.
                    Grandson.”

            k.      Social media. I searched for George Roch, William W. Roch, Jr., Charles Roch,
                    and Kenneth Roch on Facebook. Although several persons with each name
                    were located, none appeared to be the persons at issue in this matter. I located
                    two individuals with Facebook profiles consistent with Nathan Roch. My office
                    sent correspondence to both of the individuals in the profile, informing each of
                    the lawsuit and requesting a return contact. As of the date of this declaration,
                    no response has been received.

     D.     FINDINGS

     9.     My investigation, along with the investigation conducted by US Bank, revealed the
            following heirs of William W. Roch, Jr.:

Name                 Relationship Status            Children
Patricia Taylor      Daughter     Deceased          Kevin Cooke, Jason Cooke
William Roch, Jr.    Son          Deceased          William Roch, Jr., Julie Lollar, Jenny Bell, C.W. Roch



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Charles Roch       Son            Deceased    Ashley Moore, Anthony Roch, Audrey Roch
Kenneth Roch       Son            Deceased    Kenneth Roch, Jr., Nathan Roch, Megan Roch
Calvin Roch        Son            Alive
Frank "Sam" Roch   Son            Alive
Dee Dee Roch       Daughter       Incompetent Rebecca Guidry
George Roch        Son            Unknown


    10.    In addition to the persons above, it is possible there was another child of Charles Roch
           who had been born when Charles was very young and placed for adoption. However,
           the persons US Bank and my office spoke to were unable to provide any additional
           information about this child, and (if true) it appears that the child did not have further
           contact with Charles known to these persons during his life.

    11.    Of these persons, Calvin Roch, Frank “Sam” Roch, Dee Dee Roch, George Roch,
           Kevin Cooke, Jason Cooke, Victroia Jones, William Roch, III, Julie Lollar, Jenny Bell,
           C.W. Roch, Ashley Moore, Anthony Roch, Audrey Roch, Kenneth Roch, Jr., Nathan
           Roch, and Megan Roch, were all named in the lawsuit. All except George Roch and
           Nathan Roch were served personally. (ECF Nos. 7-18.). George Roch and Nathan
           Roch were served by publication. (ECF No. 19, 50.)

    E.     CONCLUSION

    12.    I believe, based upon my work in this matter, that additional efforts to locate George
           Roch, Nathan Roch, and unknown heirs of William W. Roch, Jr., Charles Roch, and
           Kenneth Roch will not be successful. Based on the above, I am satisfied that George
           Roch, Nathan Roch, and unknown heirs of William W. Roch, Jr., Charles Roch, and
           Kenneth Roch cannot be located except as stated above.

    F.     AAL’S FEES AND EXPENSES

    13.    My office and I have spent considerable time conducting this investigation. I have also
           incurred out-of-pocket expenses. Because the work is not yet complete in this matter, I
           will file a request for fees once work has been completed.

           I declare under penalty of perjury that the foregoing is true and correct. Executed on
    July 13, 2021.

                                                        /s/ Matthew S. Parmet
                                                        ___________________________
                                                        Matthew S. Parmet




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